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  IT IS ORDERED as set forth below:



  Date: June 29, 2018
                                                   _____________________________________
                                                               James R. Sacca
                                                         U.S. Bankruptcy Court Judge

 _______________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                              GAINESVILLE DIVISION

IN RE:                                       :     CHAPTER 13
ROBERTO ORTIZ-CAMERON                        :
NICOLE ORTIZ-CAMERON                         :     CASE NUMBER G16-22183-JRS

              CONSENT ORDER ON TRUSTEE’S MOTION TO MODIFY

       The above styled matter came before the Court on June 21, 2018 at 10:45 a.m. It appears

to the Court that the Chapter 13 Trustee has filed a Motion to Modify the Debtors’ Chapter 13

Plan to Provide for Undisclosed Income or in the Alternative Motion to Dismiss Case. The

Trustee and Debtors’ counsel reached an agreement on the Motion. For cause shown, IT IS

HEREBY

       ORDERED, that the Motion be and is hereby GRANTED.

       IT IS FURTHER ORDERED that the pool is increased to $5,000.00 and the plan

payment is increased to $720.00 per month.
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          The Clerk of the Court is directed to serve this Order on the parties included in the

attached Distribution List.

                                       END OF DOCUMENT


PREPARED BY:



____/s/____________________
Eric W. Roach
Attorney for Chapter 13 Trustee
GA Bar No. 143194
303 Peachtree Center Ave., NE
Suite 120
Atlanta, GA 30303
(678)992-1201



CONSENTED BY:



____/s/____________________
Howard Slomka
Attorney for Debtors
GA Bar No. 652875
Slipakoff & Slomka, PC
2859 Paces Ferry Rd, SE
Overlook III, Suite 1700
Atlanta, GA 30339
Signed by Eric W. Roach
with express permission
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                                DISTRIBUTION LIST


Case No.: G16-22183-JRS

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